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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                FORT WAYNE DIVISION

 SALVATORE CIMINO and                          )
 JOSEPHINE CIMINO,                             )
                                               )
                       Plaintiffs,             )
                                               )
        v.                                     )          CAUSE NO. 1:05-CV-389-TLS
                                               )
 FLEETWOOD ENTERPRISES, INC.,                  )
 and FLEETWOOD MOTOR HOMES                     )
 OF INDIANA, INC.,                             )
                                               )
                       Defendants.             )

                                     OPINION AND ORDER

        This matter is before the Court on the Defendant Fleetwood Enterprises, Inc.’s motion to

 dismiss the Plaintiff’s claims against it under Federal Rule of Civil Procedure 12(b)(6).

        The Plaintiff’s Complaint, filed on August 3, 2005, asserted a claim against Fleetwood

 Enterprises, Inc., and its subsidiary, Fleetwood Motor Homes of Indiana, for replacement of the

 motorhome they purchased from Fleetwood or repayment of the purchase price less reasonable wear

 and tear, as allowed by the Magnuson-Moss Warranty Act. The Defendant removed the case on

 September 13, 2005, asserting that subject matter jurisdiction would be proper under 15 U.S.C. §

 2310(d)(1)(B). This case was transferred here on October 18, 2005, from the Southern District of

 Florida. The Plaintiff filed an amended Complaint on May 16, 2006.

        The Defendant filed its motion to dismiss on January 5, 2006, arguing that the Plaintiff’s

 claim against it must fail because the Defendant is not a warrantor within the meaning of the Act.

 The Plaintiff responded on January 17, 2006, that the warranty does not clearly state which entity

 of Fleetwood issued the warranty and that Fleetwood Enterprises may be liable.

        Before the Court can address this issue, it must be satisfied that removal was proper and that

 it does have subject matter jurisdiction to hear this case. As explained by the Seventh Circuit in

 Voelker v. Porsche Cars North America, Inc., 353 F.3d 516, 521 (7th Cir. 2003),
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        Under 15 U.S.C. § 2310(d)(1)(B), federal question jurisdiction exists over a Magnuson-Moss
        claim where the amount in controversy is at least $50,000. Gardynski-Leschuck v. Ford
        Motor Co., 142 F.3d 955, 959 (7th Cir.1998). . . . To calculate the amount in controversy
        under § 2310(d)(1)(B), however, the party asserting federal jurisdiction must allege the cost
        of the replacement vehicle, minus both the present value of the allegedly defective vehicle
        and the value that the plaintiff received from the allegedly defective vehicle. Id. at 957.

 Voelker, 353 F.3d at 521. Here, as in Voelker, “no party has provided the Court with the relevant

 numbers to plug into the Gardynski-Leschuck formula, and we are thus in no position to conclude

 that jurisdiction under § 2310(d)(1)(B) exist[s] over the Magnuson-Moss claims.” Id. at 521–22.

        To determine whether damages may exceed $50,000 in this case, supplemental briefing is

 necessary. The Defendant, as the party asserting federal jurisdiction, is granted thirty (30) days to

 submit its brief and evidence supporting this Court’s exercise of subject matter jurisdiction. The

 Plaintiff has fifteen (15) days to respond. No reply should be necessary.

        SO ORDERED on July 7, 2006.

                                                       S/ Theresa L. Springmann
                                                       THERESA L. SPRINGMANN, JUDGE
                                                       UNITED STATES DISTRICT COURT
